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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        :
                                                 :    CASE NO.
           v.                                    :
                                                 :    22-mj-00169 (GMH)
                                                 :
 JEROD BARGAR,                                   :    VIOLATIONS:
                          Defendant.             :    18 U.S.C. § 1752(a)(1) and (b)(1)(A)
                                                 :    (Entering and Remaining in a Restricted
                                                 :    Building or Grounds with a Deadly or
                                                 :    Dangerous Weapon)



                                    INFORMATION

       The United States Attorney charges that at all relevant times:

                                         COUNT ONE

       On or about January 6, 2021, within the District of Columbia, JEROD BARGAR, did

knowingly enter and remain in a restricted building and grounds, that is, any posted, cordoned-off,

and otherwise restricted area within the United States Capitol and its grounds, where the Vice

President was and would be temporarily visiting, without lawful authority to do so, and, during

and in relation to the offense, did use and carry a deadly and dangerous weapon, that is, an FNH

9-millimeter semi-automatic pistol, model FNX-9.

       (Entering and Remaining in a Restricted Building or Grounds with a Deadly or
       Dangerous Weapon, in violation of Title 18, United States Code, Section 1752(a)(1) and
       (b)(1)(A))
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                                  Respectfully submitted,

                                  MATTHEW M. GRAVES
                                  United States Attorney
                                  D.C. Bar No. 481052



                              By: s/ Sarah C. Martin
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